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ATTORNEYS FOR PLAINTIFF
Consumer Financial Protection Bureau

                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


Consumer Financial Protection Bureau,

             Plaintiff,
                                          Case No. 4:17-cv-00127-BMM
             v.
                                          ATTORNEY APPEARANCE
Think Finance, LLC, formerly known
as Think Finance, Inc.,

             Defendant.


      Plaintiff, the Consumer Financial Protection Bureau, submits the appearance

of attorney Vanessa Anne Buchko as lead counsel in this matter. Ms. Buchko is an

active member in good standing of the District of Columbia Bar (#502578). She is

not a member of this Court’s trial bar.

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Dated: November 28, 2017          Respectfully submitted,

                                  /s/ Vanessa Buchko
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